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              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION

NETROADSHOW, INC.,                    )
                                      )
       Plaintiff,                     )
                                      ) CIVIL ACTION FILE
vs.                                   ) NO. 1:23-cv-05697-ELR
                                      )
LISA CARRANDI,                        )
                                      )
      Defendant.                      )

      DEFENDANT LISA CARRANDI’S REPLY IN SUPPORT OF HER
              MOTION FOR SUMMARY JUDGMENT

      Defendant Lisa Carrandi (“Ms. Carrandi”) files this reply in support of her

motion for summary judgment on Plaintiff NetRoadshow, Inc.’s (“NRS”) Complaint

[Doc. 1-1] and on her Counterclaim [Doc. 16], showing this Court as follows:

   A. The Noncompete’s Scope of Prohibited Activities is Unenforceably Broad
      and Indefinite.

      There is a wealth of Georgia law interpreting and applying the standards for

enforcing restrictive covenants entered into prior to the enactment of the GRCA.

Due to Georgia’s then-existing “strong public policy disfavoring contractual

restraints on competition and trade,” construction of non-competition agreements

ancillary to contracts of employment are subject to a unique set of case law which




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construes the terms of a restrictive covenant “against the background of this public

policy.” Atlanta Ctr. Ltd. v. Hilton Hotels Corp., 848 F.2d 146, 148 (11th Cir. 1988).

      Therefore, it is telling that in urging the Court to look to the “subsequent words

or actions of the parties” to resolve the admitted ambiguity in the Agreement’s scope

of prohibited activities, NRS relies exclusively on cases that do not involve the

interpretation of restrictive covenants. [Doc. 69, at 8.] See Sanders v. Com. Cas. Ins.

Co., 226 Ga. App. 119, 119 (1997) (contract involving contract work on a sidewalk

construction project); In re Al-Karim, Inc., 529 B.R. 366, 375 (Bankr. N.D. Ga.

2015) (bankruptcy case involving the enforceability of a lease agreement); Payne v.

Savannah Coll. of Art & Design, Inc., 81 F.4th 1187, 1191 (11th Cir. 2023)

(considering the enforceability of an arbitration provision). These cases simply do

not apply to restrictive covenants ancillary to contracts of employment.

      Essentially, NRS asks the Court to blue-pencil the Agreement to define the

long list of services that Ms. Carrandi performed on its behalf over the course of 18

years of employment. That is unambiguously impermissible, since “Georgia courts

allow no reformation or blue-penciling of a covenant ancillary to employment

agreements to allow enforceability of at least some of the otherwise overbroad

covenant.” Siech v. Hobbs Grp., LLC, 198 F. App'x 840, 842 (11th Cir. 2006). NRS

has not cited a single case in which a Georgia court looked to the “subsequent words


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or actions of the parties” to define the scope of prohibited activities in a restrictive

covenant, where those activities were not defined in the text of the agreement.

      Instead, NRS alleges that “Georgia courts have blessed language similar to

that in the Employee Agreement” by citing to a number of cases enforcing

agreements that are markedly different from the one at issue here. [Doc. 69, at 9.] In

support of this argument, NRS relies primarily on Reardigan v. Shaw Indus., Inc.,

238 Ga. App. 142 (1999), where the Georgia Court of Appeals upheld a restrictive

covenant that prohibited the employee from competing “by engaging or attempting

to engage in the business of buying, selling and installing carpet and other floor

coverings for residential or commercial uses, in circumstances where your

responsibilities and duties are substantially similar to those performed by you for

[the employer].” Id. at 142 (emphasis supplied). In listing “buying, selling and

installing carpet and other floor coverings for residential or commercial uses,” the

restrictive covenant provided a description of the activities to be restricted. Id.

      The employee in Reardigan did not argue that the scope of prohibited

activities was undefined, as it is in this case. Instead, he contended that it was

overbroad because “it forbids him to sell carpet for residential uses although his

‘main focus was commercial,’ that it unduly restricts the products he is permitted to

sell, and that it prohibits him from ‘installing’ carpet, which he contends he never


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undertook for Shaw.” Id. at 145. But the Court found that this list of prohibited

activities was further limited by the provision stating that he was only forbidden

from performing those activities “in circumstances where [his] responsibilities and

duties are substantially similar to those performed by [him]” for Shaw. Id.

      Thus, in Reardigan the restrictive covenant included a list of prohibited

activities, and then limited that restriction with the caveat that the employee was only

prohibited from performing those activities in circumstances “substantially similar”

to his responsibilities with his former employer. Conversely, in this case the word

“comparable” is the only attempt to define the “services” Ms. Carrandi is prohibited

from performing. Reardigan does not suggest that it would be enough for a restrictive

covenant to prohibit “substantially similar” services without defining any specific

services to be prohibited, and it certainly does not offer any support for the

“comparable” language used in the Noncompete in this case.

      In Sysco, which NRS also cites, the noncompetition agreement prohibited the

employee from performing services which were the “same or substantially similar

to employee’s duties 1 for Sysco as described in this agreement and its incorporated

exhibits.” Sysco Food Servs. of Atlanta, Inc. v. Chupp, 225 Ga. App. 584, 584 (1997)


1
 The Court should note that NRS’s citation of this case misleadingly ends the quote
here, conspicuously omitting the reference to the description of the employee’s
duties appearing in the agreement and its exhibits. [Doc. 69, at 10-11.]

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(emphasis added). Again, the precise problem with the Noncompete in this case is

that Ms. Carrandi’s job duties for NRS were not “described in th[e] agreement [or]

its incorporated exhibits.” NRS’s citation to a case where an agreement did describe

the employee’s job duties only serves to illustrate the level of detail necessary to

draft an enforceable restrictive covenant. That detail is absent here.

      Likewise, NRS relies on Heinemann, in which the specific language of the

agreement prohibited the employee from performing “the services that Employee

performs for Company (as set forth in Section 6.1(a)).” Elec. Data Sys. Corp. v.

Heinemann, 217 Ga. App. 816, 823 (1995) (with dissent based on the position that

Section 6.1(a) was still overbroad because it “defines those services in a circular

fashion as ‘any of the products and services that the Company provides to its

Customers’”). Despite the dissent’s concerns, the majority in Heinemann found the

noncompete reasonable specifically because it purported to limit the prohibited

activities to those which were the “same” as those defined in the agreement. Id. at

820. That case offers no support to NRS, which seeks to enforce a noncompetition

agreement that does not purport to define the scope of prohibited activities at all—

even in a “circular fashion.”




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      NRS also cites Moore v. Preferred Rsch., Inc., in which the Court of Appeals

enforced a licensing agreement by looking to the agreement itself to define the scope

of prohibited activities:

      The restrictive covenant in this case prohibits plaintiffs from engaging
      in a “similar business to that licensed and established hereunder” within
      a certain geographical area. To determine what activities are thus
      restricted, one must look to other provisions of the agreement which
      define the business activities licensed under the agreement. One of the
      preamble paragraphs of the agreement states that the licensed
      techniques and procedures relate to “the fields of courthouse records
      research and verification, credit investigations, examination of records
      effecting title to real estate and personal property and related
      services....”

191 Ga. App. 26, 26–27 (1989) (emphasis in original).

      Thus, the Court found that “[b]y definition, only those activities licensed by

the agreement are restricted.” Id. at 27. The Court interpreted the phrase “and related

services” to define “the activities which the plaintiff was licensed to perform under

the agreement. Therefore, when read in conjunction with the covenant not to

compete, the restricted activities are synonymous with, not broader than, the licensed

activities.” Id. at 28. The “activities” involved in Moore are not totally analogous to

this case, since Moore involved a licensing agreement, not an employment

agreement. Id. Nonetheless, Moore does not sanction the restrictive covenant in this

case, which purports to prohibit activities “comparable to,” and thus inevitably

broader than, a completely undefined scope of activities.

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      Finally, NRS cites Pierce v. Indus. Boiler Co., where the Georgia Supreme

Court found that, because the employment agreement prevented the employee from

working for a competing business in the same capacity as that of his employment

with the company, the agreement only prohibited him from acting as a “salesman of

boilers” for a competitor. 252 Ga. 558, 558 (1984). NRS’s position in this case—that

Ms. Carrandi should be prohibited from working as a salesperson for a competitor,

despite never holding that position at NRS—distinguishes this case from Pierce.

      Unlike Pierce, the Noncompete in this case does not just purport to prevent

Ms. Carrandi from performing the “same” job as the one she performed for NRS; it

also does not limit itself to prohibiting “substantially similar” or even “similar” jobs.

Instead, NRS attempts to prohibit Ms. Carrandi from performing any services which

are “comparable” to any of the services she performed over the course of 18 years,

in a variety of job titles, without any contractual provision defining the services

“comparable” to the ones she should be prohibited from performing. NRS has not

cited a single Georgia case enforcing a restrictive covenant as broad or indefinite as

the one at issue in this case.

   B. The Noncompete’s Territorial Restriction is Overly Broad.

      NRS’s attempt to justify the extraordinarily broad territorial restriction in this

case should likewise fail. In falsely representing to this Court that “the Georgia


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Supreme Court greenlit a broader territorial restriction than the one contained in the

Employee Agreement” NRS egregiously misconstrues the restrictive covenant in

this case as only covering “a 150-mile radius around a city,” apparently hoping the

Court will forget that the Noncompete applies to three 150-mile radii around three

cities. [Compare Doc. 60, at 15 (emphasis supplied) and Doc. 1-1, at 24.]

      If NRS had support for its contention that the Noncompete’s geographic

territory “is not even the largest area Georgia courts have held as reasonable,” it

would not need to misrepresent the scope of the restricted territory at issue in this

case. [Doc. 60, at 15.] Instead, NRS hopes the Court will believe that the one 200-

mile radius at issue in Creel, which the Supreme Court described as an “unusually

large geographical restriction,” covers a larger area than the three 150-mile radii at

issue in this case. [Id., citing Nat'l Settlement Assocs. of Georgia, Inc. v. Creel, 256

Ga. 329, 331 (1986)]. One need not be a mathematician to see the flaw in this

argument. Ms. Carrandi is not aware of any Georgia case enforcing a territorial

restriction as broad as the one at issue here, and NRS has cited none.

      NRS also attempts to distinguish the numerous cases Ms. Carrandi has cited

for the proposition that a permissible territorial restriction must be “closely tied to

the area in which the employee actually worked,” see, e.g, Dent Wizard Int'l Corp.

v. Brown, 272 Ga. App. 553, 556 (2005), by arguing that “those cases involved the


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provision of in-person services—services that quickly become less competitive the

further one moves away.” [Doc. 69, at 15.] But NRS has not cited any case law in

support of its argument that employees who travel or work remotely should be

subject to a different standard for the reasonableness of a geographic restriction.

Remote work and travel are not new; if Georgia courts intended for some other

standard to apply to such employees they would have so held. NRS is not entitled to

the enforcement of such an extraordinarily broad territorial scope—which is

unambiguously tied to its own offices, not where Ms. Carrandi actually worked—

just because she traveled to perform some of her job duties.

      Nonetheless, NRS argues that Georgia’s rules for the reasonableness of

geographic restrictions are insufficient to protect its interests because Ms. Carrandi

“oversaw the servicing of every NetRoadshow client,” and “[t]hus, where Ms.

Carrandi worked and where NetRoadshow did business must be coextensive.” [Doc.

69, at 18.] First, the allegation that Ms. Carrandi “oversaw the servicing of every

NetRoadshow client” is a factual allegation without any citation to supporting

evidence, which the Court should disregard. But perhaps more to the point, NRS is

asking the Court to blur the lines between a non-competition agreement and a non-

solicitation agreement by arguing that the location of Ms. Carrandi’s employment

should include any place where any of NRS’s clients are located. But this is exactly


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why non-solicitation agreements exist: to reach beyond the scope of the employee’s

place of employment and protect the employer’s relationships with its clients,

wherever those clients may be. That is not the function of a non-competition

agreement.

      Because the Noncompete’s scope of prohibited activities and geographic

territory are both impermissible under Georgia law, Ms. Carrandi is entitled to

summary judgment on NRS’s breach of contract claim.

   C. NRS Has Failed to Present Evidence Creating a Genuine Question of
      Material Fact as to Ms. Carrandi’s Alleged Breach of Contract.

      As shown above, Ms. Carrandi is entitled to summary judgment purely on

legal grounds because the contract NRS seeks to enforce is unenforceable as a matter

of law. The Court has already agreed with Ms. Carrandi on this point. [Doc. 51, at

10-12.] But even if the Court decided to reverse course on the enforceability of the

Noncompete, Ms. Carrandi is also entitled to summary judgment because NRS has

failed to create a genuine issue of material fact as to its breach of contract claim.

      If the Agreement is deemed enforceable, NRS has the burden of proving that

Ms. Carrandi has breached the Noncompete by performing services for Finsight that

are “comparable” to those she performed for NRS. Ms. Carrandi has submitted

testimony illustrating that her job duties at Finsight are very different from her job

duties at NetRoadshow by offering detailed descriptions of her job titles and

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responsibilities for each company. [Doc. 42.] In response, NRS attempts to discredit

this evidence by calling it “self-serving” and “uncross-examined,” arguing that it

“need[s] to be vetted and sifted before the jury.” [Doc. 69, at 19, 21.]

      Discovery is over. NRS has the burden of proof on this claim, and it had four

months to use the normal discovery procedures to develop evidence in support of its

claims, and to vet, sift, and cross-examine Ms. Carrandi’s testimony. Its failure to

develop evidence rebutting her direct testimony on this matter does not give it an

escape hatch to avoid its burden at summary judgment. The only ostensible evidence

NRS has presented in this case is offered through the declarations of its own CEO

and lawyer, neither of whom have established the factual basis for their personal

knowledge of the testimony offered therein. [Docs. 13-1 & 70.] Ms. Carrandi has

filed objections to both declarations, and incorporates those objections herein by

reference. [Docs. 14 & 74.]

      The Federal Rules of Evidence dictate that “[a] witness may testify to a matter

only if evidence is introduced sufficient to support a finding that the witness has

personal knowledge of the matter.” Fed. R. Evid. 602. Accordingly, a declaration

may “only be considered to the extent that it is based on personal knowledge.” Glock

v. Glock, 150 F. Supp. 3d 1297, 1301 (N.D. Ga. 2015). Because Mr. Hammond has

not offered any basis for his knowledge of Ms. Carrandi’s job duties, it is impossible


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for the Court to determine whether it is based on hearsay, direct personal

involvement, speculation, or any other source, admissible or inadmissible. [Doc. 13-

1.] Likewise, NRS’s lawyer does not have the personal knowledge necessary to

authenticate any of the documents attached to her declaration, or to qualify any of

those documents for any hearsay exception. [Doc. 71.]

      Trial courts can only consider evidence at summary judgment if the proponent

of that evidence shows that it can be “reduced to admissible evidence at trial” or

“reduced to admissible form.” Macuba v. Deboer, 193 F.3d 1316, 1323 (11th Cir.

1999). NRS has not met this burden, and thus the Court should not consider the

Declaration of Brad Hammond or the Declaration of Kana A. Caplan in deciding this

motion. Additionally, counsel’s statements in a brief “do not suffice as evidence to

defeat a motion for summary judgment.” Evanston Ins. Co. v. DCM Contracting,

Inc., 441 F. Supp. 3d 1336, 1343 (N.D. Ga. 2020), citing Travaglio v. Am. Express

Co., 735 F.3d 1266, 1270 (11th Cir. 2013). Because NRS has not carried its burden

of identifying specific evidence which will be admissible at trial and is sufficient to

create a genuine dispute of material fact, Ms. Carrandi is entitled to summary

judgment.




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   D. The Parties Agree That There is No Factual Dispute as to Ms. Carrandi’s
      Counterclaim.

      Both parties agree that there is no factual dispute as to Ms. Carrandi’s

Counterclaim. [Doc. 69, at 22.] Indeed, the Counterclaim is subject to cross-motions

for summary judgment, and Ms. Carrandi incorporates her response to NRS’s motion

for summary judgment herein by reference. [Doc. 71.] In that brief, Ms. Carrandi

showed that the Employment Agreement’s choice of law provision expressly applies

only to the terms of the Agreement itself, and thus the Counterclaim (which does not

seek to enforce any rights under the Agreement) is subject to the principle of lex loci

delicti, which requires the Court to apply the law of the forum where the injury was

suffered—in this case, California law. [Id. at 7-8, citing, e.g., Cooper v. Meridian

Yachts, Ltd., 575 F.3d 1151, 1162 (11th Cir. 2009) and Harvey v. Merchan, 311 Ga.

811, 813–14 (2021)].

      Contrary to NRS’s suggestion in its response brief, Ms. Carrandi did not offer

NRS’s employee handbooks to create a fact issue—both parties agree that there is

none—but in anticipation of NRS’s argument that it should not be subject to

California law because it was “surprised” that its out-of-state employees would be

subject to the protection of their own state laws. [Doc. 65, at 24; Doc. 71, at 13.] It

absolutely was not surprised by this reality of employing out-of-state employees,

which is reflected in its own employment materials. Ms. Carrandi will decline to

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repeat the remaining arguments on this issue here, as they have been sufficiently

briefed. [See generally Doc. 71.]

      However, it is worth pointing out that, if the Court grants Ms. Carrandi’s

motion for summary judgment on NRS’s breach of contract claim (which it should),

it will be faced with two options: issue a judgment on Ms. Carrandi’s state law

claims, or decline supplemental jurisdiction over those claims and transfer them to

California. Under 28 U.S.C. § 1367(a), federal courts have supplemental jurisdiction

over state law claims when they “are so related to claims in the action within such

original jurisdiction that they form part of the same case or controversy . . .” 28

U.S.C. § 1367(a) (emphasis supplied).

      District courts “may decline to exercise supplemental jurisdiction over a

claim” when (1) the state law claim raises a novel or complex issue of state law, (2)

the claim substantially predominates over any claims that the district court has

original jurisdiction over, (3) the court has dismissed all the other claims that it has

original jurisdiction over, or (4) there are other compelling reasons for declining

jurisdiction. 28 U.S.C. § 1367(c). Any one of these factors is sufficient to give the

district court discretion to decline supplemental jurisdiction, but prior to declining

jurisdiction under § 1367(c)(4), a court must consider the discretionary factors

articulated in United Mine Workers of Am. v. Gibbs, 383 U.S. 715 (1966), including


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comity, convenience, fairness, and judicial economy. Sutherland v. Glob. Equip. Co.,

789 F. App'x 156, 161–62 (11th Cir. 2019).

      The Court has original jurisdiction over NRS’s state law breach of contract

claim, and supplemental jurisdiction over Ms. Carrandi’s Counterclaim arising under

California law. While the Court is free to exercise supplemental jurisdiction over

Ms. Carrandi’s Counterclaim in the event it dismisses NRS’s breach of contract

claim, it also has the discretion to decline jurisdiction under 28 U.S.C. § 1367(c) and

allow a California court to interpret and apply the novel state law on which Ms.

Carrandi’s claims are based.

                                  CONCLUSION

      Based on the foregoing authority, Ms. Carrandi respectfully requests that the

Court enter summary judgment in her favor on all claims.

      Respectfully submitted this the 2nd day of August, 2024.
                                           /s/ Mary Ellen Lighthiser
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                     CERTIFICATE OF COMPLIANCE

      Pursuant to Local Rule 7.1(D), the undersigned counsel hereby certifies that

the foregoing brief was prepared in Times New Roman 14-point font, in compliance

with Local Rule 5.1(B).

      This 2nd day of August, 2024.

                                      /s/ Mary Ellen Lighthiser
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                          CERTIFICATE OF SERVICE

      I certify that on August 2, 2024 I filed the within and foregoing DEFENDANT

LISA CARRANDI’S REPLY IN SUPPORT OF HER MOTION FOR SUMMARY

JUDGMENT using the CM/ECF System for the federal District Court for the

Northern District of Georgia, which will provide electronic service to all counsel of

record, and by statutory electronic service.

      This the 2nd day of August, 2024.

                                               /s/ Mary Ellen Lighthiser
                                               Mary Ellen Lighthiser
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